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                                 UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                         Case Number 4:04cr3008-001
                                                           USM Number 18297-047

CHRISTIAN P. FIROZ
                  Defendant
                                                           ROBERT B. CREAGER
                                                           Defendant’s Attorney
___________________________________
                   AMENDED JUDGMENT IN A CRIMINAL CASE
                         (For Revocation of Probation or Supervised Release)

Date of Original Judgment: 07/06/2007
(Or Date of Last Amended Judgment)

Reason for Amendment:
     Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)

THE DEFENDANT admitted guilt to violation of Standard Condition #2 of the term of supervision.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offenses:
                                                                                   Date Violation
        Violation Number                    Nature of Violation                     Concluded


 1. (Standard Condition #2)          The defendant shall report to the           Monthly during 2006
                                     probation officer and shall
                                     submit a truthful and complete
                                     written report within the first five
                                     days of each month

 3. (Standard Condition #2)         The defendant shall report to the           Monthly during 2005
                                    probation officer and shall
                                    submit a truthful and complete
                                    written report within the first five
                                    days of each month
Original Offense: Conspiracy to unlawfully sell and offer for sale Drug Paraphernalia, in violation of 21 USC
846.

The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Allegations 2, 4, 5, and 6 of the Amended Petition for Offender Under Supervision (106) are
dismissed on motion of the government.

Following the imposition of sentence, the Court advised the defendant of his right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
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special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                                     July 5, 2007

                                                                      s/ Richard G. Kopf
                                                                      United States District Judge

                                                                                      July 12, 2007


                                        IMPRISONMENT

        It is ordered defendant’s term of probation is revoked. The defendant is hereby committed
to the custody of the United States Bureau of Prisons to be imprisoned for a term of six (6) months
with no supervised release to follow.

The Court makes the following recommendation in the strongest possible terms to the Bureau
of Prisons:

1.       That the defendant be incarcerated in the federal facility at Yankton, SD.

The defendant shall surrender for service of sentence at the institution designated by the Bureau
of Prisons before 2:00 p.m. no earlier than 60 days from today as notified by the United States
Marshal.

                                ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______
                                                            _____________________________
                                                                     Signature of Defendant

                                             RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.

                                                       __________________________________
                                                              UNITED STATES WARDEN

                                                    By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.
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                                              CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______
                                                        __________________________________
                                                                 UNITED STATES WARDEN


                                                             By:__________________________________


                                CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                          Total Fine                   Total Restitution
          $100.00 (PAID)




                                                    FINE

         No fine imposed.

                                              RESTITUTION

         No restitution was ordered.


CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
